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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

 FRANCES R. SMITH                                CIVIL ACTION NO.: 14-572

 VERSUS                                          JUDGE: BRADY

 BOARD OF SUPERVISORS, ET AL.                    MAGISTRATE JUDGE: BOURGEOIS
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                            PLAINTIFF’S NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that Plaintiff, Frances R. Smith, in the above named case,

hereby appeals to the United States Court of Appeals for the Fifth Circuit from the judgment in

favor of Board of Supervisors of Southern University and Agriculture and Mechanical College,

rendered on the 13th day of January, 2016.

                                                    RESPECTFULLY SUBMITTED,

                                                    ______s/Jill L. Craft_____________
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                                                    Attorney at Law, LLC
                                                    Crystal Bounds, T.A. Bar Roll No. 27490
                                                    509 St. Louis Street
                                                    Baton Rouge, LA 70816
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 2, 2016 a copy of the above and
foregoing was filed electronically using the Court’s CM/ECF system. Notice of this filing will be
sent to all parties by operation of the Court’s electronic filing system.

       Baton Rouge, Louisiana, this 2nd day of February, 2016.

                                 ________s/Jill L. Craft______
                                         Jill L. Craft
